                            UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

In the Matter of:                                       }
LINDA HILL                                              }
SSN: XXX-XX-0768                                        }     BK Case No. 18-82774-CRJ-13
                                                        }
                                                        }
                                                        }     Chapter 13
                      Debtor.                           }
                                                        }
LINDA HILL                                              }
                                                        }
                     Plaintiff,                         }
                                                        }     AP Case No. 19-80011-CRJ-13
v.                                                      }
                                                        }
BANK OF AMERICA and                                     }
CARRINGTON MORTGAGE SERVICES, LLC                       }
                                                        }
                    Defendants.                         }

                   ORDER REQUIRING BRIEF REGARDING THE AUTHORITY
                      OF THE COURT TO AWARD PUNITIVE DAMAGES
                            UNDER THE BANKRUPTCY CODE

             On March 20, 2019, this Adversary Proceeding came before the Court on Status
      Conference. Appearing at the hearing were Michael Odom, Esq., counsel for Defendants, and
      John Larsen, Esq., counsel for Plaintiff.

              During the Status Conference, discussion was had regarding the Affirmative Defense
      asserted by the Defendants that Plaintiff’s claims for punitive damages under 11 U.S.C. § 362(k)
      of the Bankruptcy Code are barred because bankruptcy courts lack authority under the United
      States Constitution and under Alabama law to adjudicate and impose punitive damages.

              IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that on or before
      April 1, 2019, by 5:00 p.m., CDT, the Defendants are directed to file a brief regarding the
      constitutional challenge to the Court’s authority pursuant to 11 U.S.C. § 362(k) to award punitive
      damages and to the applicability of the Supreme Court’s decisions in Wellness Int’l Network, LTD
      v. Sharif, 135 S. Ct. 1932 (2015) and Stern v. Marshall, 131 S. Ct. 2594 (2011) to 11 U.S.C. §
      362(k).

      Dated this the 21st day of March, 2019.               /s/ Clifton R. Jessup, Jr.
                                                            Clifton R. Jessup, Jr.
                                                            United States Bankruptcy Judge




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